
EVANDER, J.
We issued a Spencer1 show cause order directing Edmund Washington to demonstrate “why he should not be denied further pro se access to this Court for any proceeding to further attack the convictions and sentences rendered below....” Washington’s response was simply to file a notice of voluntary dismissal. A reviewing court has discretion to retain jurisdiction and proceed with the appeal even where a notice of voluntary dismissal is timely filed. State v. Schopp, 653 So.2d 1016 (Fla.1995). We have decided to proceed with this appeal and we find that Washington’s appeal is without merit. We further find that Washington has abused the judicial process and should be barred from further pro se filings.
Therefore, in order to conserve judicial resources, we prohibit Washington from fifing with this Court any further pro se pleadings concerning Orange County, Ninth Judicial Circuit Case No. 92-CF-1634. The Clerk of this Court is directed not to accept any further pro se filings concerning this case. Any further pleadings regarding this case will be summarily rejected by the Clerk unless they are filed by a member in good standing of the Florida Bar. See Isley v. State, 652 So.2d 409, 411 (Fla. 5th DCA 1995) (“enough is enough”). The Clerk is further directed to forward a certified copy of this order to the appropriate institution for consideration of disciplinary proceedings. See § 944.279(1), Fla. Stat. (2007); Simpkins v. State, 909 So.2d 427, 428 (Fla. 5th DCA 2005).
AFFIRMED; PRO SE FILINGS PROHIBITED.
SAWAYA and ORFINGER, JJ., concur.

. State v. Spencer, 751 So.2d 47 (Fla.1999).

